                                      CASE 0:20-cv-01906 Document 1-2 Filed 09/04/20 Page 1 of 1
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SXUSRVHRILQLWLDWLQJWKHFLYLOGRFNHWVKHHW(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

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Elisabeth Cleveland, on behalf of herself and all others similarly situated,                                 Whirlpool Corporation

     E &RXQW\RI5HVLGHQFHRI)LUVW/LVWHG3ODLQWLII         Ramsey County                                  &RXQW\RI5HVLGHQFHRI)LUVW/LVWHG'HIHQGDQW                                New Castle County, DE
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                        (IN U.S. PLAINTIFF CASES ONLY)
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     F $WWRUQH\V(Firm Name, Address, and Telephone Number)                                                 $WWRUQH\V(If Known)
Michelle J. Looby, GUSTAFSON GLUEK PLLC, Canadian Pacific Plaza,
120 South 6th Street, Suite 2600, Minneapolis, MN, 55402, (612)
333-8844

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                                                                                                           (For Diversity Cases Only)                                                               and One Box for Defendant)
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        3ODLQWLII                            (U.S. Government Not a Party)                         &LWL]HQRI7KLV6WDWH                              u     u    ,QFRUSRUDWHGor3ULQFLSDO3ODFH                             u     u 
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u  86*RYHUQPHQW                 u  'LYHUVLW\                                               &LWL]HQRI$QRWKHU6WDWH                  u          u        ,QFRUSRUDWHGand3ULQFLSDO3ODFH                   u          u 
        'HIHQGDQW                            (Indicate Citizenship of Parties in Item III)                                                                             RI%XVLQHVV,Q$QRWKHU6WDWH

                                                                                                   &LWL]HQRU6XEMHFWRID                   u          u        )RUHLJQ1DWLRQ                                     u          u 
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,91$785(2)68,7(Place an “X” in One Box Only)                                                                                                        &OLFNKHUHIRU1DWXUHRI6XLW&RGH'HVFULSWLRQV
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u   ,QVXUDQFH                    3(5621$/,1-85<            3(5621$/,1-85<         u 'UXJ5HODWHG6HL]XUH                    u $SSHDO86&                      u )DOVH&ODLPV$FW
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u   1HJRWLDEOH,QVWUXPHQW                 /LDELOLW\            u +HDOWK&DUH                                                                                                       u 6WDWH5HDSSRUWLRQPHQW
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        (QIRUFHPHQWRI-XGJPHQW             6ODQGHU                      3HUVRQDO,QMXU\                                                    u &RS\ULJKWV                             u %DQNVDQG%DQNLQJ
u   0HGLFDUH$FW                 u )HGHUDO(PSOR\HUV¶                3URGXFW/LDELOLW\                                                  u 3DWHQW                                 u &RPPHUFH
u   5HFRYHU\RI'HIDXOWHG                 /LDELOLW\            u $VEHVWRV3HUVRQDO                                                     u 3DWHQW$EEUHYLDWHG                   u 'HSRUWDWLRQ
       6WXGHQW/RDQV                u 0DULQH                            ,QMXU\3URGXFW                                                      1HZ'UXJ$SSOLFDWLRQ                u 5DFNHWHHU,QIOXHQFHGDQG
        ([FOXGHV9HWHUDQV           u 0DULQH3URGXFW                    /LDELOLW\                                                         u 7UDGHPDUN                                   &RUUXSW2UJDQL]DWLRQV
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u   2WKHU&RQWUDFW                        3URGXFW/LDELOLW\     u 2WKHU3HUVRQDO          u /DERU0DQDJHPHQW                        u ',:&',::  J                            3URWHFWLRQ$FW
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u   )UDQFKLVH                             ,QMXU\                u 3URSHUW\'DPDJH         u 5DLOZD\/DERU$FW                       u 56,  J                             u 6HFXULWLHV&RPPRGLWLHV
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                                              0HGLFDO0DOSUDFWLFH                                      /HDYH$FW                                                                           u 2WKHU6WDWXWRU\$FWLRQV
       5($/3523(57<                     &,9,/5,*+76            35,621(53(7,7,216          u 2WKHU/DERU/LWLJDWLRQ                    )('(5$/7$;68,76                          u $JULFXOWXUDO$FWV
u   /DQG&RQGHPQDWLRQ            u 2WKHU&LYLO5LJKWV           +DEHDV&RUSXV             u (PSOR\HH5HWLUHPHQW                     u 7D[HV 863ODLQWLII                  u (QYLURQPHQWDO0DWWHUV
u   )RUHFORVXUH                  u 9RWLQJ                    u $OLHQ'HWDLQHH               ,QFRPH6HFXULW\$FW                          RU'HIHQGDQW                          u )UHHGRPRI,QIRUPDWLRQ
u   5HQW/HDVH (MHFWPHQW       u (PSOR\PHQW                u 0RWLRQVWR9DFDWH                                                     u ,56²7KLUG3DUW\                             $FW
u   7RUWVWR/DQG                u +RXVLQJ                        6HQWHQFH                                                                  86&                           u $UELWUDWLRQ
u   7RUW3URGXFW/LDELOLW\                $FFRPPRGDWLRQV        u *HQHUDO                                                                                                            u $GPLQLVWUDWLYH3URFHGXUH
u   $OO2WKHU5HDO3URSHUW\      u $PHUZ'LVDELOLWLHV    u 'HDWK3HQDOW\                    ,00,*5$7,21                                                                            $FW5HYLHZRU$SSHDORI
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                                     u $PHUZ'LVDELOLWLHV    u 0DQGDPXV 2WKHU        u 2WKHU,PPLJUDWLRQ                                                                    u &RQVWLWXWLRQDOLW\RI
                                              2WKHU                 u &LYLO5LJKWV              $FWLRQV                                                                                6WDWH6WDWXWHV
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                                                                                                                       (specify)                        7UDQVIHU                                              'LUHFW)LOH
                                         &LWHWKH86&LYLO6WDWXWHXQGHUZKLFK\RXDUHILOLQJ(Do not cite jurisdictional statutes unless diversity)
                                          Class Action Fairness Act (“CAFA”), 28 U.S.C. § 1332(d)
9,&$86(2)$&7,21                     %ULHIGHVFULSWLRQRIFDXVH
                                          Breaches of warranties, unjust enrichment, violations of consumer statutes, negligence, and fraud.
9,,5(48(67(',1    u &+(&.,)7+,6,6$&/$66$&7,21                                                '(0$1'                                                 &+(&.<(6RQO\LIGHPDQGHGLQFRPSODLQW
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